     Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 1 of 18 PageID #:1




                  IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
                                          )
JANE DOE,                                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )
                                           )    JURY DEMANDED
CITY OF CHICAGO, a municipal               )
Corporation;                              )
WILLIAM WHITLEY, a former City of          )
Chicago Police Officer,                    )
                                           )
             Defendants.                   )
__________________________________________)___________________________________

                                   COMPLAINT

      The Plaintiff, JANE DOE, by and through her attorneys, Richard Dvorak, of

DVORAK LAW OFFICES, LLC, and Gary P. Annes, of ABELS & ANNES, P.C.,

brings her complaint against Defendants City of Chicago and William Whitley,

stating the following:

Jurisdiction and Venue:

   1. The incident occurred on or about in various locations in Chicago, Cook

      County, Illinois.

   2. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

      U.S.C. § 1983, § 1988 and 28 U.S.C. § 1331, and § 1343(a); the Constitution of

      the United States pendant jurisdiction as provided under 28 U.S.C. § 1367(a).




                                          1
     Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 2 of 18 PageID #:1




   3. Venue is proper under 28 U.S.C. § 1391(b)(2) as all parties resigned in this

         judicial district and all underlying events pertaining to the claims occurred

         within this District.

Parties:

   4. Plaintiff, Jane Doe, is a resident of the City of Chicago, located in Cook

         County, Illinois.

   5. Defendant City of Chicago is a municipal corporation located in Cook County,

         Illinois.

   6. Former Chicago Police Officer William Whitley is a federal prisoner,

         currently housed in Seagoville, Texas, serving a 25-year prison sentence

         stemming from allegations that are the subject of this complaint.

Facts:

   7. William Whitley (“Officer Whitley”), formerly Star 6061, was a Chicago Police

         Officer, duly appointed and at all times relevant to this complaint employed

         by Defendant City of Chicago (“City” or “they City”) and acting under color of

         law and in the course and scope of his employment.

   8. Officer Whitley began working as a sworn police officer with the Chicago

         Police Department in 1991.

   9. Excluding the sustained complaint that stemmed from Officer Whitley’s

         felony conviction related to this case, there were approximately 29 complaints

         lodged against William Whitley with civilian and/or internal affairs agencies

         during his time as a Chicago police officer, although this information was



                                             2
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 3 of 18 PageID #:1




   culled from Freedom of Information Act (“FOIA”) requests, and thus could be

   incomplete. It is possible there are more such complaints.

10. Of those 29 complaints obtained through FOIA requests, seven were

   sustained against Officer Whitley.

11. Only two of those sustained complaints were submitted by civilians; the rest

   were completed by higher ranking officials within the Chicago Police

   Department.

12. Thus, there were, at a minimum, 24 civilian complaints against Officer

   Whitley during his time period, only two of which were sustained.

13. About half of the unsustained complaints against Officer Whitley involved

   verbal abuse or excessive force against civilians, the majority of which were

   women. Upon information and belief, this is a highly unusual gender

   pattern, since most police misconduct complainants are men, one signal that

   pointed City investigators toward Officer Whitley’s misogyny.

14. The two sustained civilian complaints both occurred in 2001 and were only

   sustained due to an overwhelming amount of evidence of wrongdoing on

   Officer Whitley’s part that made it impossible for the City not to discipline

   Officer Whitley.

15. In one instance, Officer Whitley was suspended for verbally abusing and

   repeatedly kicking a detainee in a Chicago Police Department lock-up facility.

   The physical abuse was so severe that the detainee had to be immediately

   transported to the hospital. Additionally, three independent witnesses came



                                        3
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 4 of 18 PageID #:1




   forward to support the complainant’s story. The FOIA documents indicate

   this complaint resulted in a suspension, but the FOIA documents do not

   indicate the length of such a suspension.

16. The second instance in which a civilian complaint was sustained against

   Officer Whitley resulted from Officer Whitley’s failure to write or submit a

   report after responding to a battery of a 19-year old female complainant who

   was struck in her head with a metal pipe by her boyfriend. Officer Whitley

   knew this woman suffered severe domestic violence injuries, and was in need

   of protection, but Officer Whitley did not arrest this abuser or do anything to

   protect this woman, in direct violation of the Illinois Domestic Violence Act of

   1986 (750 ILCS 60/102).

17. This allegation was easily proven because the complaint occurred the next

   day, and Officer Whitley coded the job but failed to write the required report.

   The FOIA documents indicate this complaint resulted in a suspension, but

   the FOIA documents do not indicate the length of such a suspension.

18. This sustained allegation was typical of several other unsustained complaints

   by women for failing to protect them and enforce the mandatory provisions of

   the Act.

19. There were several incidents where female civilian domestic abuse victims

   came forward to make complaints against Officer Whitley for his refusal to

   make arrests and protect women who were domestic abuse victims. Of

   course, these are only complaints involving domestic violence victims who



                                       4
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 5 of 18 PageID #:1




   actually came forward to report Officer Whitley’s misconduct, and any

   reasonable City investigator looking at this disturbing pattern of Officer

   Whitley’s failure to protect female domestic violence victims would conclude

   there were probably many more unprotected victims that did not come

   forward. Of course, when these women did summon the courage to report

   Officer Whitley, the City investigators, except in one instance, protected

   Officer Whitley over these domestic violence victims.

20. There was more evidence alerting City investigators to Officer Whitley’s on-

   duty misogyny.

21. For example, the City was also on notice of a particularly alarming instance

   that should have further clued City investigators into the fact that Officer

   Whitley was not only a misogynist, but perhaps a sexual predator as well.

22. In one of the unsustained complaints, in 2001, Officer Whitley was accused of

   leaving 46 “color Polaroids of nude and scantily clad women in a box on the

   [front] dashboard of his department vehicle.”

23. These were apparently home-made Polaroid photographs, presumably taken

   by Officer Whitley, that should have raised alarm bells within the Chicago

   Police Department of Officer Whitley’s predatory nature toward women.

24. The complaint was un-sustained because, according to the findings of the

   City investigation, the car was unused for a shift, and therefore the

   investigators supposedly could not determine with certainty whether

   someone planted the Polaroids on the dashboard after Officer Whitley’s shift,



                                       5
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 6 of 18 PageID #:1




   a highly improbably scenario that equates to a defense of contraband being

   “planted,” which is virtually never accepted as plausible when civilians make

   this accusation against Chicago police officers. This conclusion also does not

   explain how Officer Whitley would not have noticed a box of pornography on

   the front dashboard of his police vehicle.

25. The City of Chicago investigators not only came up with this ridiculous

   excuse not to hold Officer Whitely responsible for openly displaying a box of

   homemade pornography in his police vehicle, the investigators also never

   bothered to investigate the matter to determine whether any of the

   photographs appeared to be of minors and the investigators never made any

   attempt to ascertain the identify of these women and/or girls.

26. These investigators knew that had they sustained this allegation or taken the

   situation seriously, they would have had to do a thorough investigation into

   the nature of how or why Officer Whitley created this home-made

   pornography, why such materials were in his police car, and whether any of

   these women or girls were victims of sexual abuse at the hands of Officer

   Whitley. A serious investigation into this matter would have no doubt

   resulted in Officer Whitley’s termination and/or criminal charges being

   brought against Officer Whitley.

27. But, this was not the first time that the City accepted Officer Whitley’s

   excuse that contraband must have been planted in his police vehicle.




                                       6
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 7 of 18 PageID #:1




28. In 2000, the City investigated Officer Whitley because police found several

   bags of cannabis under the rear seat of his police vehicle. As with the 2001

   incident, there was a shift between when Officer Whitley used the vehicle

   and when the contraband was found where no officer had used this vehicle.

29. With this incident, while the City investigators did sustain the complaint for

   failing to properly search his vehicle to not notice the illegal substance, it

   once again accepted the ridiculous “planting” excuse to not hold Officer

   Whitley accountable for actually possessing the marijuana, an illegal act that

   would have likely resulted in his termination and/or criminal charges being

   lodged against Officer Whitley.

30. These two incidents demonstrate the City of Chicago’s long-standing practice

   of going out of its way not to discipline its officers in any meaningful manner.

31. These two incidents were also typical of the way the City treated Officer

   Whitley specficially, i.e. the City investigated the complaints in a sloppy,

   incomplete manner, almost never sustaining the complaints, going out of its

   way to avoid having to seriously discipline him and/or fire him.

32. The City of Chicago’s manner of investigating Officer Whitley’s misconduct

   encouraged Officer Whitley to continue to commit police misconduct,

   including sexual misconduct.

33. The manner in which the City of Chicago investigated Officer Whitley was

   part of a consistent decades-long pattern of the City of Chicago turning a

   blind eye to obvious police misconduct.



                                        7
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 8 of 18 PageID #:1




34. The Defendant City of Chicago has de facto widespread customs, policies and

   practices of failing to investigate, discipline, or otherwise hold accountable its

   police officers whether on or off duty.

35. The custom of disregarding flagrant and harmful conduct is not just an issue

   in relation to mishandling of Officer Whitley’s complaints and abuse but a

   department-wide issue that engenders a firm understanding among Chicago

   Police Officers that they are above the law and can act without fear of

   consequences.

36. The City also has an entrenched code of silence, and has had one for decades.

37. This code of silence not only calls for officers to not intervene to stop

   misconduct by other officers, but it also includes City investigators covering

   up for such misconduct when faced with obvious instances and patterns of

   abuse.

38. The United States Department of Justice, Civil Rights Division and United

   States Attorney’s Office, Northern District of Illinois in their joint

   “Investigation of the Chicago Police Department” state that within the

   Chicago Police Department there are “numerous entrenched, systemic

   policies and practices that undermine police accountability” and that “The

   City, police officers, and leadership with CPD and its police officer union

   acknowledge that a code of silence among Chicago police officers exists”.




                                         8
  Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 9 of 18 PageID #:1




39. In an interview with “Chicago Tonight” on December 8, 2015 Mayor Rahm

   Emanuel admitted that there is a code of silence among Chicago police

   officers.

40. The City has employed and continues to employ hundreds of police officers

   with long histories of citizen complaints. The City, as a matter of practice

   and policy, routinely finds the vast majority of citizen complaints against

   police officers unfounded or unsubstantiated. The City, as a matter of

   practice and policy, allows its officers to act with impunity, both on and off

   duty, without the fear of any official consequence.

41. The City’s widespread de facto custom, practice and policy of failing to

   investigate, discipline or otherwise hold accountable its police officers,

   whether on or off duty. The failure to discipline engendered the firm

   understanding amount Chicago police officers, including Officer Whitely, that

   Chicago police officers are above the law and can act with impunity, without

   fear of consequences. As a result, The City’s persistent and widespread de

   facto custom, policy and practice was the driving force behind Officer

   Whitley’s conduct.

42. In June of 2015, Officer Whitley knowingly solicited sex from the then 14

   year-old Plaintiff.

43. When he did so, Officer Whitley had a reasonable opportunity to observe the

   Plaintiff to be a minor, and knowingly caused her to engage in commercial




                                        9
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 10 of 18 PageID #:1




   sex acts in violation of Title 18, U.S.C. 1591(a)(1). This is confirmed because

   Officer Whitley entered a guilty plea to this charge on May 15, 2018.

44. Additionally, Officer Whitley paid the then minor Plaintiff to perform sexual

   acts on him on at least five occasions between June and September of 2015.

45. The Plaintiff had braces at the time and was obviously underage.

46. Each assault of the Plaintiff took place in Whitley’s Chicago apartment.

47. During their encounters, Officer Whitley openly displayed his police status by

   bragging about it to the Plaintiff. Officer Whitley further displayed that fact

   by keeping his police uniform hanging up on his bedroom door, wearing a

   gold chain around his neck that had a gold medallion with a Chicago Police

   Department logo on it and keeping a department issued and loaded firearm

   under pillow while he sexually assaulted the Plaintiff in his bed.

48. On or around July of 2015, Officer Whitley used his cellular smartphone to

   take several sexually explicit pictures of the Plaintiff in which her genitalia

   was exposed, an incident that reflects Officer Whitley’s updated modus

   operandi, moving on from taking Polaroids of nude women, as he did in 2001,

   to taking nude photos on his cell phone.

49. On or around September 2015, the Federal Bureau of Investigations (FBI)

   began an investigation into Officer Whitley for soliciting sex from the minor

   Plaintiff as part of a sting operation in an ongoing sex trafficking

   investigation.




                                       10
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 11 of 18 PageID #:1




50. An undercover agent met with the Plaintiff and she was taken into custody.

   Due to her two outstanding Cook County warrants, she agreed to cooperate

   with the FBI’s investigation.

51. Over the course of its investigation, the FBI discovered that Officer Whitley

   not only sexually assaulted the Plaintiff, but also at least three other minors.

52. On November 1, 2016, Officer Whitley was charged with child pornography

   and sex trafficking of the Plaintiff and three other minor girls.

53. In or around 2014, another victim of Officer Whitley’s described in the federal

   criminal complaint as “Minor B”, told FBI agents that Officer Whitley and a

   man Officer Whitley described as a fellow Chicago police officer “partner,”

   picked her up while she was walking around the Englewood neighborhood of

   Chicago. She got in the car with these two Chicago police officers, and Officer

   Whitley paid her to perform oral sex while his Chicago police officer partner

   drove the car around.

54. Officer Whitley’s brazen sexual assault of a minor, in full view of a fellow

   Chicago police officer, is typical of the City’s entrenched “code of silence,”

   where officers know that they are immune from being informed on by other

   officers.

55. Another one of the minor girls met Officer Whitley when he saw her outside

   and offered to give her a ride in his police department vehicle. When he

   realized she had nowhere to stay, he offered to let her stay at his apartment.

   Surely, this girl thought she was being saved and protected, at first, but



                                        11
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 12 of 18 PageID #:1




   Officer Whitley waited until they got to his apartment to solicit her for sex,

   and then completing his sexual assault of this minor victim.

56. On May 15, 2018 Whitley pled guilty to four counts of sex trafficking

   underage girls.

57. On September 13, 2018, Whitley was sentenced to 25 years in prison, 5 years

   of supervised release, a fine of $100,000 to be paid to the Crime Victims

   Fund, and the remainder of his available funds were to be split amongst his

   victims.

58. A complaint against Officer Whitley for his federal convictions was not filed

   with the Chicago Police Department until January 14, 2019. The

   investigation is still pending as of October 2019.

59. The Plaintiff suffered severe mental and emotional damage as a result of the

   Defendants’ actions.

60. The Plaintiff, Jane Doe, turned 18 years old on November 25, 2018.

61. This abuse occurred when the Plaintiff was extremely vulnerable, and Officer

   Whitley’s exploitation of her and his exploitation of his status as a police

   officer to abuse the Plaintiff and other victims was the result of the City’s

   broken disciplinary system, which not only tolerated Officer Whitley’s

   pervasive pattern of misogyny and abuse, but, in the end, such actions and

   inactions actually encouraged Officer Whitely to believe that he could get

   away with anything, including sexually assaulting a minor in full view of

   another Chicago police officer.



                                       12
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 13 of 18 PageID #:1




                     Count I- SUBSTANTIVE DUE PROCESS,
                                   42 U.S.C 1983
                        (Plaintiff Against Officer Whitley)

62. Each paragraph of this Complaint is fully restated and incorporated herein.

63. Acting within the scope of his employment as a Chicago Police Officer, Officer

   Whitley violated the minor Plaintiff’s substantive due process rights.

64. For the time relevant to the allegations in this complaint, Officer Whitley

   acted under color of law and within the course and scope of his employment

   when he repeatedly sexually assaulted the Plaintiff.

65. In taking the actions described above, Officer Whitley, acting within the

   course and scope of his employment, on numerous occasions caused non-

   consensual, illegal entry into the Plaintiff’s body and therefore violated her

   substantive due process rights, restrained of her freedom and liberty, and

   thus were a direct and proximate cause of the Plaintiff’s injuries.

                            COUNT II –MONELL CLAIM
                        (Plaintiff Against the City of Chicago)

66. Each paragraph of this Complaint is fully restated and incorporated herein.

67. The Plaintiff had a fundamental Fourteenth Amendment right to be free

   from unreasonable physical intrusion and sexual assault by law enforcement.

68. Officer Whitley was at all times relevant to this complaint employed by

   Defendant City of Chicago and was acting within the scope of his

   employment.

69. Officer Whitley was acting under color of law at all times.




                                       13
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 14 of 18 PageID #:1




70. Additionally and/or alternatively, the City of Chicago’s actions or inactions in

   this case supply the requisite color of law element to this Section 1983 action.

71. The City’s failure to supervise, train, and discipline Officer Whitley allowed

   him to act with impunity and to use his police power to lure and intimidate

   his victims without fear of repercussion.

72. At all relevant times, the Defendant City of Chicago had a custom of failing

   to properly train, supervise and discipline its police officers, Officer Whitley

   included.

73. At all relevant times, the City of Chicago had in effect policies and

   procedures, rules, regulations, and general orders regarding the conduct of

   both on and off duty officers, agents, representatives, and or employees.

74. Defendant City of Chicago had a duty to institute and promulgate

   procedures, investigations and disciplinary actions that would have protected

   the Plaintiff, but it failed to do so.

75. Defendant City of Chicago had a duty to institute and maintain a proper

   early warning system to identify problem officers but failed to do so.

76. The Defendant City of Chicago’s failure was the direct cause of Officer

   Whitley’s repeated sexual assaults on the Plaintiff.

77. As a result of the Defendant Officers’ conduct the Plaintiff suffered damages,

   including but not limited to those described above

                      COUNT III- STATE LAW CLAIM
                Willful and Wanton Failure to Discipline/Train
                          (Plaintiff v. City of Chicago)



                                            14
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 15 of 18 PageID #:1




78. Each paragraph of this Complaint is fully restated and incorporated herein.

79. At all relevant times herein the City of Chicago exercised control over the

   Chicago Police Department.

80. At all relevant times the Chicago Police Department had in effect policies and

   procedures, rules, regulations, and general orders regarding the conduct of

   both on and off duty officers, agents, representatives, and or employees.

81. At all times relevant to the allegations put forth in this complaint, Officer

   Whitley was employed by the City of Chicago Police Department as a police

   officer.

82. The City of Chicago had a duty to refrain from willful and wanton conduct

   with respect to the Plaintiff.

83. With utter indifference and conscious disregard, Defendant City of Chicago

   failed to discipline or supervise Officer Whitley. Despite his frequent and

   ongoing pattern of police misconduct in general and misogyny and sexual

   misconduct specifically, the Defendant, City of Chicago, knew or recklessly

   disregarded the misconduct committed by Officer Whitley described in this

   complaint.

                        COUNT IV- STATE LAW CLAIM
                                      Battery
                (Plaintiff v. William Whitley and City of Chicago)

84. Each paragraph of this Complaint is fully restated and incorporated herein.




                                       15
 Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 16 of 18 PageID #:1




85. As described above, Defendant William Whitley and/or knowingly and/or

   willfully and wantonly caused the Plaintiff bodily harm without lawful

   justification.

86. The Plaintiff brings a claim of battery against the City of Chicago under the

   theory of respondeat superior.

87. As a result of the Defendant Officers’ conduct the Plaintiff suffered damages,

   including but not limited to those described above.

                        COUNT V- STATE LAW CLAIM
                      Gender Violence Act, 740 ILCS 82/10
          (Plaintiff Against William Whitley and the City of Chicago)

88. Each paragraph of this Complaint is fully restated herein.

89. As described above the Officer Whitley committed gender violence against the

   Plaintiff in the form of physical intrusions of a sexual nature under coercive

   conditions that would satisfy the elements of battery under the laws of

   Illinois.

90. The Plaintiff brings a respondeat superior claim under this statute against

   Defendant City of Chicago, and also for its own actins or inactions described

   in this complaint.


                        COUNT VI – STATE LAW CLAIM
                                 Indemnification
                         (Plaintiff Against the City of Chicago)

91. Each paragraph of this Complaint is fully restated herein.




                                        16
    Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 17 of 18 PageID #:1




   92. In committing the acts alleged in the preceding paragraphs, Officer Whitley

      acted as an agent or employee of the Defendant City of Chicago and was

      acting in the course and scope of his employment and under color of law.

   93. In Illinois, public entities are directed to pay any tort judgment for

      compensatory damages for which employees are liable within the scope of

      their employment activities.

   94. The City of Chicago is the indemnifying entity for the actions of the

      Defendant Officer, who took actions while under color of law and in the

      course and scope of their employment with the City of Chicago.

                                  Request for Relief

      The Plaintiff respectfully requests that the Court enter judgment in her favor

and against the Defendant, award compensatory damages and attorneys’ fees on all

claims that allow for an award of fees and costs against the Defendants, and to

award punitive damages against the Defendant Officer, and grant any other

equitable relief this Court deems just and appropriate.



PLAINTIFF DEMANDS TRIAL BY JURY.



                                                Respectfully submitted,

                                                /s/ Richard Dvorak
                                                Richard Dvorak, One of the
                                                Attorneys for the Plaintiff.


Richard Dvorak

                                           17
    Case: 1:19-cv-07375 Document #: 1 Filed: 11/07/19 Page 18 of 18 PageID #:1




Loren Jones
DVORAK LAW OFFICES, LLC
6262 Kingery Highway, Suite 305
Willowbrook, Illinois 60527
Phone: (630)568-3190
Fax: (312) 873-3869
Richard.dvorak@civilrightsdefenders.com
loren.jones@civilrightsdefenders.com

Gary P. Annes
100 N. LaSalle St., Suite 1710
Chicago, Illinois 60602
Phone: (312) 924-7575
Fax: (312) 924-7555
www.abelsannes.com




                                       18
